                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 at WINCHESTER


UNITED STATES OF AMERICA                 )
                                         )      No. 4:09-cr-19
v.                                       )
                                         )      Judge Mattice
HOWARD C. HUNTER                         )


                                         ORDER

      United States Magistrate Judge Susan K. Lee filed her report and recommendation

pursuant to 28 U.S.C. § 636(b)(1) and Federal Rule of Criminal Procedure 59(a). [Court

Doc. 29.] Neither party filed objections within the given 10 days.

      After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

recommendation. The Court thus ACCEPTS and ADOPTS Magistrate Judge Lee’s

findings of fact, conclusions of law, and recommendations pursuant to § 636(b)(1) and

Rule 59(a).

      Accordingly, the Court ORDERS that the Motion to Suppress and Memorandum

[Court Doc. 19] is DENIED.

              SO ORDERED this 28th day of September, 2009.


                                                     /s/Harry S. Mattice, Jr.
                                                     HARRY S. MATTICE, JR.
                                                UNITED STATES DISTRICT JUDGE




Case 4:09-cr-00019-HSM-SKL       Document 31      Filed 09/28/09     Page 1 of 1   PageID
                                       #: 62
